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                        UNITED STATES DISTRICT COURT                                     7/27/2020
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                               Lynchburg Division

  LEAGUE OF WOMEN VOTERS OF
  VIRGINIA;     KATHERINE     D.
  CROWLEY; SEIJRA TOOGOOD;
  GAYLE     HARDY;   CAROL    D.
  PETERSEN; and TRACY SAFRAN,

             Plaintiffs,                            Case No.: 6:20-cv-00024-NKM-RSB
      v.

  VIRGINIA STATE BOARD OF
  ELECTIONS; ROBERT H. BRINK,
  JOHN O’BANNON, and JAMILAH D.
  LECRUISE, in their official capacities as
  Chairman, Vice-Chair, and Secretary of
  the Virginia State Board of Elections,
  respectively; and CHRISTOPHER E.
  PIPER, in his official capacity as
  Commissioner      of     the   Virginia
  Department of Elections,

             Defendants,

  REPUBLICAN PARTY OF VIRGINIA,

            Intervenor-Defendant.


  ORDER GRANTING CONSENT MOTION FOR LEAVE TO FILE BRIEFS IN EXCESS
                      OF TWENTY-FIVE PAGES

           Having considered Plaintiffs’ Consent Motion for Leave to File Briefs in Excess of

  Twenty-Five Pages, it is hereby ordered that the Motion is GRANTED and the Parties to this case

  may file principal and responsive briefs in excess of twenty-five (25) pages, not to exceed forty

  (40) pages, exclusive of captions and tables, in regard to Plaintiffs’ forthcoming Motion for

  Preliminary Injunction.
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                                                Entered: July 27, 2020


                                                Robert S. Ballou
                                                Robert S. Ballou
                                                United States Magistrate Judge
